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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

       (1) CRAIG PC SALES & SERVICE
       LLC, an Oklahoma domestic limited
       liability company;
       (2) RAY T. CRAIG, SR., an individual;
       and
       (3) RAY T. CRAIG, JR., an individual, No. CIV-17-3-J

                      Plaintiffs,

       v.

       (1) CDW GOVERNMENT, LLC, an
       Illinois limited liability company; and
       (2) MICROSOFT CORPORATION, a
       Washington corporation,

                      Defendants.

                  DEFENDANT’S OBJECTIONS TO PLAINTIFFS’
                       AMENDED FINAL EXHIBIT LIST

      Defendant CDW Government, LLC submits its objections pursuant to the Federal

Rules of Evidence (“FRE”) to plaintiffs’ Amended Final Exhibit List [Doc. No. 255] as

follows:

No    Description           Expected May         Bates                 Objections
.                           to Use   Use
1     CDWG Sales            X                    CDWG 212-537
      Policies                                   CDWG 612-680
                                                 CDWG 712-784
2     CDWG Corporate                 X           CDWG 681-711
      Software Sales
      Slideshows
3     CDWG Software                  X           Craig 15827-15828     FRE 401-
      Sales                                      Craig 15975-16066     403
      Records/Open                               Craig 16253
      License Order                              Craig 16258-16261
      Confirmations                              Craig 16499-16500
                                           1
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No   Description         Expected May       Bates                     Objections
.                        to Use   Use
                                            Craig PC 849-853
                                            OAG-Craig PC 9380
                                            OAG-Craig PC 9389-
                                            9392
                                            OAG-Craig PC 9436-
                                            9437
                                            OAG-Craig PC 9440
                                            OAG-Craig PC 9466-
                                            9467
                                            OAG-Craig PC 9470-
                                            9471
4    CDWG                X                  Links to videos will be   FRE 401-
     Commercials                            produced.                 402, 901
5    CDWG Website        X                  Craig 15817-15820         FRE 401-
     Sections,                              Additional pages          402, 901
     Statements, and                        available at
     Articles                               https://www.cdwg.com
                                            /
6    Certain                     X          Craig 1090-1111
            Licenses
     Purchased by
     Craig PC/School
     Districts from
     CDWG
7    CDWG Quotes                 X          CDWG 58-101
     for Craig                              Craig 6654
     PC/School                              Craig 14688
     Districts                              Craig 16162-16163
8    CDWG Portal                 X          Craig 21712-21726         FRE 401-
                                                                      402, 901
9    Audio of Dee                X          None
     Griggs Call with
     Cesar
10   Transcript of Dee           X          Craig 1493-1503           FRE 401-
     Griggs Call with                                                 403
     Cesar
11   Audio of Dee                X          None
     Griggs Call with
     John/Juan



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No   Description       Expected May       Bates                Objections
.                      to Use   Use
12   Transcript of Dee          X         Craig 16101-16117    FRE 401-
     Griggs Call with                                          403
     John/Juan
13   Ray Craig II               X         Craig 21198-21531
     Medical Records
14   Ray Craig Sr.              X         Craig 20985-21197
     Medical Records
15   News Articles re:          X         Craig 1252-1254
     Plaintiffs and                       Craig 1259
     Criminal                             Craig 1812-1850
     Allegations
16   Plaintiffs’ Bank           X         Craig 1578-1707
     Account and                          Craig 15079-15213
     Financial                            Craig 16266-16280
     Transaction                          Craig 16305-16319
     Information
17   Plaintiffs’       X                  Craig 1089           FRE 401-
     Mugshots                                                  403
18   Craig PC Profit            X         Craig 1-22
     and Loss                             Craig 21727-21730
     Statements                           Craig 21732-21733
19   Craig PC Tax               X         Craig 70-292
     Returns
20   Ray Craig II Tax           X         Craig 23-69
     Returns                              Craig 293-595
21   Ray Sr. and                X         Craig 596-812
     Margaret Craig
     Tax Returns
22   Craig PC Sales             X         Craig 813-915
     by Customer                          Craig 14704-15078
     Detail                               Craig 16571
                                          Craig 16586
                                          Craig 16601
                                          Craig 16606
23   Craig PC School            X         Craig 21734-21736
     Customers
     Lost/Recovered
     Report
24   Craig PC Sales             X         Craig 1708-1741
     by

                                      3
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No   Description        Expected May       Bates                   Objections
.                       to Use   Use
     Customer                              Craig 16567-16607
     Summaries                             Craig 21731
25   Craig PC Custom            X          Craig 15830-15845
     Transaction                           Craig 18644-18669
     Detail Reports                        Craig 18684-18691
                                           Craig 18715-18721
                                           Craig 21737-22115
26   Craig PC                   X          Craig 1742-1744
     Certificate of
     Conversion and
     Articles of
     Organization
27   Craig PC                   X          Craig 1745-1756
     Operating
     Agreement
28   Craig PC                   X          Craig 3127-4229 Craig
     Invoices and                          6652
     Orders                                Craig 6656
                                           Craig 15388-Craig
                                           15499
                                           Craig 15865-15927
                                           Craig 16254-16257
                                            Craig 16262
                                           Craig 18722-20964
                                           OAG-Craig PC 9441
                                           OAG-Craig PC 9486-
                                           9487
                                           OAG-Craig PC 9492-
                                           9494
                                           OAG-Craig PC 9501-
                                           9510
                                           OAG-Craig PC 9687
29   Craig PC                   X          Craig 17892-18053
     Maintenance
     Contracts
30   Craig PC E-Rate            X          Craig 16418-16429
     Contracts,                            Craig 18054-18628
     Numbers. And
     Commitments
31   Plaintiffs’ Fees   X                  Craig 20968-20981       FRE 401-
     and Costs of                                                  403
                                       4
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No   Description         Expected May       Bates                Objections
.                        to Use   Use
     Defense for
     Criminal and
     Forfeiture
     Litigation
32   Ed Bott Expert              X          Doc. 213-1           FRE 401-
     Report (including                                           403, 702-
     any and all                                                 705, subject
     supplements),                                               to Daubert
     CV, and Fed. R.                                             motion
     Civ. P. 26
     Disclosures
33   Will Clark, Ph.D.           X          Doc. 213-2           FRE 401-
     Expert Report                                               403, 702-
     (including any                                              705, subject
     and all                                                     to Daubert
     supplements),                                               motion
     CV, and Fed. R.
     Civ. P. 26
     Disclosures
34   Communications              X          Craig PC 1-9
     sent or received                       Craig PC 12-21
     by Josh Parker                         Craig PC 23-30
                                            Craig PC 43-49
                                            GJ Craig 9603
                                            GJ Craig 9605
                                            Craig 1811
                                            Craig 14655-14663
                                            Craig 14665-14675
                                            Craig 14677-14684
                                            Craig 14700-14701
                                            Craig 15824-15826
                                            Craig 15829
                                            Craig 16171-16191
                                            Craig 21706-21708
35   Communications              X          Craig 15821
     sent or received                       Craig 16192
     by Tyler Hardy                         MSFT_CRAIG 1384
                                            OAG Craig PC 9360-
                                            9361
36   Communications              X          Craig 14691
     sent or received
                                        5
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No   Description          Expected May       Bates                  Objections
.                         to Use   Use
     by Chyanne                              Craig 14694-14695
     Rooney                                  Craig PC 43
37   Communications               X          Craig 18644-18669      FRE 401-
     sent or received                                               403
     by Robert Marc
     Boles
38   Communications               X          Craig 16078-16079      FRE 401-
     sent or received                                               403
     by Dee Griggs
39   Communications               X          APS 45
     sent or received
     by Deborah
     Decker
40   Communications               X          Craig 15823
     sent or received                        Craig 22118-22119
     by Steve
     Grempka
41   Communications               X          Craig 18672-18676
     sent or received                        Craig 18679
     by Sean Mitchell
42   Communications               X          Craig 18677-18678
     sent or received
     by Ross Ladwig
43   Communications               X          Craig 14685-14687
     sent or received                        Craig 14690-14694
     by Robert                               Craig 14695-14696
     Culicchia                               Craig 16159-16170
                                             Craig PC 31-42
44   Scott Forbes                 X          Coyle Law Firm         FRE 801-
     Investigative File                      Production 3337-3402   803
45   Certain Filings,             X          Craig 1029-1088
     Exhibits, and
     Transcripts from
     United States of
     America v. One
     2011 Chevrolet
     Equinox, et al,
     W.D. Okla. Case
     No. CIV-11- 710-
     M

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No   Description          Expected May       Bates                Objections
.                         to Use   Use
46   Certain Filings,              X         Craig 17257-17878
     Exhibits, and                           Craig 21705
     Transcripts from                        OAG Craig PC 1490-
     State of                                1501
     Oklahoma v. Ray                         OAG Craig PC 1502-
     Craig Sr., Ray                          1504
     Craig II, and Jay
     Jerdee, Grady
     County Case Nos.
     CF-2014-373,
     CF-2014-374,
     and CF-2014-375
47   Certain Filings,             X          Craig 16297-16296    FRE 401-
     Exhibits, and                           Craig 16302          403
     Transcripts from
     In the Matter of
     Seizure of
     Certificate of
     Deposit
     #8400367396-1,
     et al, W.D. Okla.
     Case No.
     CIV-11-162-M
48   Certain Filings,             X          Craig 2923-3126      FRE 401-
     Exhibits, and                           Craig 4230-13570     403
     Transcripts (with
     exhibits) from the
     Grand Jury
     proceedings
     instituted in the
     U.S. District
     Court for the
     Western District
     of Oklahoma
     regarding Ray
     Craig II
49   Microsoft                    X          Craig 1808-1810      FRE 401-
     Website:                                                     403
     “Solving the
     Mystery of
     Windows
                                         7
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No   Description         Expected May       Bates               Objections
.                        to Use   Use
     Desktop
     Licensing”
50   Microsoft                   X          Craig 15797-15798   FRE 401-
     Website: “Get                                              403
     Genuine
     Solutions”
51   Microsoft                   X          Craig 15804-15805   FRE 401-
     Website: “Which                                            403
     Would You
     Choose?”
52   Microsoft                   X          Craig 15792         FRE 401-
     Website:                                                   403
     “Microsoft
     Launches Anti-
     Piracy Campaign
     in the Northeast”
53   Microsoft                   X          Craig 15793-15794   FRE 401-
     Website:                                                   403
     Microsoft Files
     Lawsuits Against
     Three Portland-
     Area Resellers in
     First Oregon
     Anti-Piracy
     Sweep
54   CRN: Microsoft              X          Craig 15795         FRE 401-
     Sting Targets                                              403
     Resellers for
     Alleged Hard-
     Disk Loading
55   Seattle PI:                 X          Craig 15796         FRE 401-
     Microsoft Files                                            403
     21 Piracy Suits
56   CDWG Website:               X          Craig 21709-21710   FRE 401-
     “CDW-G                                                     403
     Honored as a
     Microsoft Public
     Sector Partner of
     the Year for
     Education”

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No   Description         Expected May       Bates                Objections
.                        to Use   Use
57   Microsoft                    X         Craig 22116-22117    FRE 401-
     Website: Ed Bott                                            403, 702-705
     MVP
58   Sysprep (System             X          Craig 18630-18633
     Preparation Tool)
59   Product and                 X          Craig 6662
     Volume                                 Craig 21694-21699
     Licensing Keys

60   Microsoft License           X          Craig 1112-1117
     Records                                Craig 18693-18714
61   Microsoft                   X          MSFT_CRAIG 3717-
     Licensing Product                      3955
     Use Rights
62   Microsoft                   X          Craig 6663
     Packing Lists                          Craig 6671
                                            Craig 6678
63   FBI Investigation           X          FBI-REPORT 1-247     FRE 801-
     Records                                Craig 13571-14654    803
                                            Craig 16320-16417
                                            Craig 16430-16566
64   Application for             X          OAG Craig PC 1208-
     Search Warrant /                       125
     Affidavit
65   Microsoft                   X          Craig 1510-1568
     Licensing                              Craig 15214-15257
     Spreadsheets and
     Information
66   Help My School              X          Craig 18629          FRE 401-
     List of School                                              403
     Names
67   Ray Craig Sr.               X          Craig 18692          FRE 401-
     Plea Form: CM-                                              403
     2016-643
68   WIN Numbers                 X          Craig 1509

69   Letter from US              X          Craig 16281
     DOJ to
     Superintendents


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No   Description         Expected May     Bates                 Objections
.                        to Use   Use
70   Industry System              X       Craig PC 842-845      FRE 401-
     Invoice to                                                 403
     Lindsay Public
     Schools
71   US DOJ Property             X        APS 46-47             FRE 401-
     Receipt Return to                                          403
     Anadarko Public
     Schools
72   Letter from US              X        GJ Craig 6522         FRE 401-
     DOJ to David                                               403
     Davidson
73   Purchase Orders             X        Craig 17883-17891
     to Apple, Inc.
74   Email from                  X        Craig 1260-1261
     CDWG to Bryan
     Raymer
75   USDOJ: Property             X        APS 46-47
     Received and
     Receipts from
     Anadarko Public
     Schools
76   Email from                  X        Craig 21566
     Randy Bradley to
     Deborah Decker
77   Emails from                 X        Craig 6672
     Microsoft to Dee                     Craig 6674
     Griggs
78   Craig Asset Lists           X        Craig 16263-16265
                                          Craig 18630-18633
79   Emails between              X        Craig 16159-16161
     CDWG and Craig                       Craig 16164-16192
     PC
80   Do Not Contact              X        Craig 16303-16304
     List
81   Ed Bott                     X        Craig 15761-15826     FRE 401-
     Underlying                                                 403, 702-
     Report                                                     705, subject
                                                                to Daubert
                                                                motion


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No   Description         Expected May     Bates                 Objections
.                        to Use   Use
82   2016                         X       Craig 260
     Shareholders
     Summary
83   Microsoft OEM               X        MSFT_CRAIG 3380-
     System Builder                       3381
     License
84   Open License                X        Craig 1238
     Welcome
     Notification
85   Microsoft License           X        MSFT_CRAIG 3956-
     Verification for                     3957
     Upgrade

86   Search and                  X        Craig 16282-16286
     Seizure Warrant
87   Craig PC Volume             X        Craig 21700-21702
     Licensing Log
88   Audio of                    X        Craig 21711           FRE 401-
     Conversation                                               403, 901
     with Thomas
     Diamond
89   Communications              X        Craig 6664-6665
     sent or received
     by Jay Montblanc
90   Communications              X        1308-1408
     sent or received
     by Liz
     Hiszczynski
91   Communications              X        Craig PC 10-11
     sent or received
     by Oleg Krylod
92   CDWG Order                  X        Craig 20967
            for
     Anadarko Public
     Schools
93   Microsoft                   X        Craig 22120
     Volume
     Licensing Service
     Center –


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No   Description         Expected May     Bates                 Objections
.                        to Use   Use
     Downloads and
     Keys
94   Jay Montblanc               X        Craig 22121           FRE 401-
     Resume                                                     403
95   Tyler Hardy                 X        None                  Improper
     Deposition from                                            exhibit; must
     March 10, 2014                                             designate
                                                                deposition
                                                                testimony
96   CDWG Tech                   X        CDWG 785-852
     Data Price Lists
97   Microsoft Select            X        CDWG 853-870
     Plus Agreement
98   CDWG List                   X        CDWG 871
99   Microsoft                   X        CDWG 872-937
     Licensing Product
     Use Rights
10   Reference Guide             X        CDWG 938-940
0
10   CDWG Records                X        996-1017
1    Retention
     Schedule
10   CDW Electronic              X        1018-1023
2    Communications
     Policy
10   CDW Draft                   X        1269-1295
3    Retention Policy

10   Tyler Hardy                 X        1024-1268             FRE 401-
4    Personnel File                                             403

10   Joshua Parker               X        1296-1307             FRE 401-
5    Personnel File                                             403
10   Information and             X        MSFT_CRAIG 1018-
6    Statements for                       1049
     Schools                              MSFT_CRAIG 1725-
                                          1958
10   Documents                   X        APS_1-47              FRE 401-
7    Produced by                                                403
     Anadarko Public

                                     12
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No   Description      Expected May        Bates                 Objections
.                     to Use   Use
     Schools via
     Subpoena
10   Documents                  X         BOS_1-324             FRE 401-
8    Produced by                                                403
     Binger-Oney
     Public Schools
     via Subpoena
10   Documents                  X         BAPS_1-315            FRE 401-
9    Produced by                                                403
     Boone-Apache
     Public Schools
     via Subpoena
11   Documents                  X         CKTC_1-519            FRE 401-
0    Produced by                                                403
     Caddo Kiowa
     Technology
     Center via
     Subpoena
11   Documents                  X         CPS_1-92              FRE 401-
1    Produced by                                                403
     Cement Public
     Schools via
     Subpoena
11   Documents                  X         CHS_1-8               FRE 401-
2    Produced by                                                403
     Central High
     School via
     Subpoena
11   Documents                  X         CNPS_1-3              FRE 401-
3    Produced by                                                403
     Copan Public
     Schools via
     Subpoena
11   Documents                  X         CYPS_1-301            FRE 401-
4    Produced by                                                403
     Cyril Public
     Schools via
     Subpoena
11   Documents                  X         EPS_1-20              FRE 401-
5    Produced by                                                403

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No   Description         Expected May     Bates                 Objections
.                        to Use   Use
     Erick Public
     Schools via
     Subpoena
11   Documents                   X        FPS_1                 FRE 401-
6    Produced by                                                403
     Fletcher Public
     Schools via
     Subpoena
11   Documents                   X        GPS_1-21              FRE 401-
7    Produced by                                                403
     Glencoe Public
     Schools via
     Subpoena
11   Documents                   X        HPS 1-996             FRE 401-
8    Produced by                                                403
     Hinton
            Public
     Schools via
     Subpoena
11   Documents                   X        PPS_1-4               FRE 401-
9    Produced by                                                403
     Peckham Public
     Schools via
     Subpoena
12   Documents                   X        RSD_1-4               FRE 401-
0    Produced by                                                403
     Ringwood Public
     Schools via
     Subpoena
12   Documents                   X                              FRE 401-
1    Produced by                                                403
     Ripley Public
     Schools
     via Subpoena
12   Documents                   X        RHPS_1-116            FRE 401-
2    Produced by                                                403
     Robin Hill Public
     Schools via
     Subpoena



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No   Description         Expected May     Bates                 Objections
.                        to Use   Use
12   Documents                    X       TPS_1-13              FRE 401-
3    Produced by                                                403
     Thackerville
     Public
     Schools via
     Subpoena
12   Documents                   X        TLPS_1-140            FRE 401-
4    Produced by                                                403
     Timberlake
     Public
     Schools via
     Subpoena
12   Documents                   X        UCPS_1-120            FRE 401-
5    Produced by                                                403
     Union City Public
     Schools via
     Subpoena
12   Documents                   X        VPS_1-135             FRE 401-
6    Produced by                                                403
     Verden Public
     Schools via
     Subpoena
12   Documents                   X        LPS_1-112             FRE 401-
7    Produced by                                                403
     Lindsay Public
     Schools via
     Subpoena
12   Documents                   X        MVPS_1-61.047         FRE 401-
8    Produced by                                                403
     Maysville Public
     Schools via
     Subpoena
12   Documents                   X        MPS_1-74              FRE 401-
9    Produced by                                                403
     Middleberg
     Public
     Schools via
     Subpoena
13   Documents                   X        MSD_1-2.004 MSD_3- FRE 401-
0    Produced by                          102                403
     Minco Public
                                     15
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No   Description        Expected May     Bates                 Objections
.                       to Use   Use
     Schools via
     Subpoena
13   Documents                  X        MVGS_1-115            FRE 401-
1    Produced by                                               403
     Mountain View-
     Gotebo
     Public Schools
     via
     Subpoena
13   Documents                  X        NPS_1-470 NPS_471-    FRE 401-
2    Produced by                         489                   403
     Ninnekah Public
     Schools via
     Subpoena
13   Documents                  X        HEPS_1-191            FRE 401-
3    Produced by                                               403
     Hydro-Eakly
     Public
     Schools via
     Subpoena
13   Documents                  X        SPS_1-25.072          FRE 401-
4    Produced by                                               403
     Sterling Public
     Schools via
     Subpoena
13   Documents                  X        GMPS_1-55             FRE 401-
5    Produced by                         Some are not bates    403
     Gracemont Public                    stamped
     Schools via
     Subpoena
13   Documents                  X        RSSD_1-25             FRE 401-
6    Produced by                                               403
     Riverside School
     District via
     Subpoena
13   Documents                  X        Industry Systems 1-203 FRE 401-
7    Produced by                                                403
     Industry Systems
     via Subpoena



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No   Description         Expected May         Bates                Objections
.                        to Use   Use
13   Documents                    X           OAG/CRAIG PC 1-      FRE 401-
8    Produced by the                          12807                403;
     Oklahoma                                                      FRE 801-
     Attorney                                                      803
     General’s Office
     via Subpoena
13   All exhibits                   X         See Doc. 241
9    identified by
     CDWG not
     successfully
     objected to by
     Plaintiffs
14   All documents                  X         Craig 1-22121 CDWG   Objections
0    Exchanged during                         1-1410               reserved
     discovery or used                        MSFT_CRAIG 1-3957
     as an exhibit by
     any party in a
     deposition or
     filing not
     otherwise
     identified herein
     and not
     successfully
     objected to by
     Plaintiffs
14   All documents                  X         N/A                  Objections
1    discovered or                                                 reserved
     created after the
     date of this List
     not successfully
     objected to by
     Plaintiffs
14   Documents for                  X         N/A                  Objections
2    rebuttal and/or                                               reserved
     impeachment


     Submitted this 10th day of September 2021.




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                            Respectfully submitted,




                            s/Ronald T. Shinn, Jr.
                            Ronald T. Shinn, Jr., OBA #19569
                            McAfee & Taft, P.C.
                            8th Floor, Two Leadership Square
                            211 N. Robinson
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                            Telephone: 405-235-9621
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                            ron.shinn@mcafeetaft.com

                            Thomas C. Koessl (admitted pro hac vice)
                            Samera S. Ludwig (admitted pro hac vice)
                            Christopher R. Sullivan (admitted pro hac vice)
                            L&G LAW GROUP LLP
                            175 West Jackson Blvd, Suite 950
                            Chicago, IL 60604

                            Attorneys for Defendant,
                                   CDW Government, LLC




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                             CERTIFICATE OF SERVICE

        I hereby certify that on the file-stamped date above, I electronically transmitted the
attached document to the Clerk of the Court using the ECF System for filing. Based on the
records currently on file, the Clerk of the Court will transmit a Notice of Electronic Filing
to the following ECF registrants:

 Stanley M. Ward                                Brad Burns
 Woodrow K. Glass                               Burns Law Office
 Jonathan M. Irwn                               519 W. Chickasha Avenue
 Geoffrey A Tabor                               Chickasha, OK 73018
 Travs E. Harrison
 Ward & Glass LLP
 1601 N.W. 36th Avenue, Suite 100
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